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Plaintiffs’ Exhibit W
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MALINI CHRISTINE SUCHAK

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

SIERRA BOUCHER, LILY ENGEBRECHT,
NATASSIA TUHOVAK, HANNAH WHELAN, and
CASSIDY WOOD,

Plaintiffs,

- against - Case No.
1:22-cv-00381-CCR

TRUSTEES OF CANISIUS COLLEGE,

Defendant.

Examination before trial of MALINI
CHRISTINE SUCHAK, taken pursuant to Subpoena, in
the offices of JACK W. HUNT ¢& ASSOCIATES, INC.,
1120 Liberty Building, Buffalo, New York, on
June 19, 2024, commencing at 2:26 p.m., before

LYNNE E. DIMARCO, Notary Public.

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03066. And the third document runs from Canisius
03067 through Canisius 03068.

Q. Okay. So let's talk first about the
first Document 3060 to 3062. Do you recall when
you composed this document?

A. So the first page running up through or
above where it says inappropriate oversight
interference, that was all composed around
October 3rd, 2013. I don't think it was exactly on
this date, but it was within the next few days.

Q. Okay.

A. Everything else inappropriate oversight
interference through the end of the material on
page 03062 I started collecting this information in
October or November, which means that I went
backwards in time to compile some of the dates that
were listed before that. And then everything from
October, November on I wrote down
contemporaneously.

Q. Okay. And so this document essentially
covers interactions that you had with Dr. Michael

Noonan from October of 2013 to July of 2014; is

-that correct?

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A. Correct.

Q. Okay. So why did you keep these notes
regarding your interactions with Dr. Noonan?

A. The first part, the trip meeting I
documented because we had raised some concerns
about the trip and I wanted some documentation of
the concerns we had raised and the response.

The second -- the rest of it, everything
after inappropriate oversight interference, I
recorded as a running record of interactions that
showed that he was behaving in an overbearing and
inappropriate way towards me.

Q. So with regard to your notes about the
pre-Colorado trip meeting, I've reviewed them and I
believe that your notes express discussions that
you had with Dr. Noonan and Christy Hoffman
regarding an intended trip to Colorado with
Canisius students; is that correct?

A. Correct.

Q. Okay. You said that you raised
concerns and you wanted to memorialize the response
in this document. And I'm wondering were you

talking about the concerns that you and Dr. Hoffman

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faculty?
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Yes.

Okay. Are you a tenured professor now?

Yes.

When did you receive tenure?

August of 2019.

Prior to your time as an adjunct or a

faculty member at Canisius, did you spend time at

Canisius College?

A.

A.
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your tenure

A.

Yes.

And in what capacity did you do that?
I was a student.

Okay. And what years did you attend?
2003 to 2007.

And were you an undergraduate student?
Yes.

Okay. Did you receive a degree?

Yes.

What was the degree?

A Bachelor of Science in biology.

Did the ABEC department exist during
aS an undergraduate student?

No.

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Q. Did you study under Dr. Noonan when you
were an undergraduate student?
A. Yes.
Q. What was your experience studying under

Dr. Noonan as an undergraduate student?

A. I learned a lot from him, I still use
some of the skills that I gained from studying with
him. I also had, you know, a lot of experience
working with animals and field trips with him.

Q. Did Dr. Noonan ever subject you to any
conduct that you thought was inappropriate?

A. There was a time when I was an
undergraduate student where I was doing research
with him at Marineland and it was clear that a
trainer there had a crush on me. And he, Mike

Noonan, teased me mercilessly about that.

Q. Did he encourage you to go out with the
trainer?

A. No.

Q. How did he tease you about it, this

crush that the trainer had on you?
A. Like he would say that he thought it

was cute or he would mention that, you know, the

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Survey ~- actually, I asked you that question
already.

I'm going to direct your attention now to
the second document in this exhibit. I believe you
told me it went from 3063 to 3066?

A. Correct.

Q. Okay. So I have reviewed this document
and it seems to be a critique of the work that
Dr. Noonan was doing through the Canisius
Ambassadors for Conservation or the CAC program as
well as the ISHAR Institute; is that a fair summary
of this document?

MR. D'ANTONIO: Form, you may answer, if you
know.

THE WITNESS: I don't know that I would call
it a critique.

BY MS. NANAU:

Q. Okay. What would you call it?

A. I would call it an analysis of the work
being done particularly under the umbrella of the
Institute for Human Animal Relations which included
the Canisius Ambassadors for Conservation in

relation to its purported goals as stated on the

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web site which is the text that is in gray.

Q. Okay. When did you prepare this
document?

A. In May of 2017.

Q. And what was the intent behind
preparing this document?

A. These were preparation notes for
meetings that I would later have with Dr. Beth Gill
and Peg McCarthy.

Q. Okay. So Dr. Beth Gill was the dean of
the school of arts and sciences; is that correct?

A. She was the dean of the college of arts
and sciences at that time.

Q. Thank you. And what was Dr. McCarthy's
role at that time?

A. Vice president for academic affairs.

Q. And did you meet with Dr. Gill and
Dr. McCarthy about the issues memorialized in this
second memorandum, did you meet with them together
or did you meet on separate occasions with each
one, or a combination?

A. I wouldn't call this a memorandum,

these are preparation notes.

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Q. Okay. sorry.

A. And I met with Dr. Beth Gill and then
later Dr. Gill and Dr. McCarthy together.

Q. And when you met with Dr. Gill
initially, did you meet with her and anyone else?

A Joshua Russell was there.

Q. Okay. And do you recall when that
meeting was with Dr. Gill and Dr. Russell?

A. October of 2017.

Q. Okay. And beyond the issues raised in

this you preparation memorandum, did you raise any

other issues with Dr. Gill at that time?

A. Me, personally, not that I remember.
Q. Okay.
A. I mean, there were other -- Josh was

there, so he probably raised issues that aren't
listed here.

Q. Do you recall if Dr. Russell raised any
issues other than what is memorialized in your
preparation memorandum?

A. Give me a second to read what's in
here,

Q. Yeah, take your time, I'm not in a

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rush.

A. One thing that I remember that is not
in here that I believe Josh brought up was the use
of fitness tests for some of the trips.

Q. So by fitness test are we talking about
physical fitness or mental fitness?

A. Physical fitness.

Q. And what was Dr. Russell's objection to
the fitness tests for the trips?

A. I don't remember his precise objection
to the fitness test except that they were pretty
rigorous relative to the actual needed physicality
of the trip.

There is legitimate reason to ensure that
folks traveling into remote areas of the field
especially mountainous areas can do the physical
work. However, it seemed disproportionate to
sometimes what they would be doing.

Like they might have to run up and down 10
flights of stairs and that some students were
getting excluded from the trip because they
couldn't pass the physical fitness test.

Q. Is there anything else that you recall

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that Dr. Russell brought up during the meeting with

Dr. Gill?
A. Not off the top of my head.
Q. Okay. With regard to the meeting with

Dr. McCarthy, do you recall when that happened?

A. I think it was April of 2018.

Q. And what were the issues that you
discussed with Dr. McCarthy?

A. It was -- I use these notes for both
meetings, so it was similar issues although my
recollection is with Dr. McCarthy we focused a
little bit more on money going to ISHAR.

Q. From your preparation memorandum I took
it that you were questioning the legitimacy of some
of the expenses that Dr. Noonan made with ISHAR
money or the use of ISHAR money on certain
expenses.

For example, you questioned whether a
thousand dollar plus cameras had to be purchased
every year, correct?

A. Yes.

Q. And that he used students as pack mules

to haul video and photo equipment often at the

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expense of being able to bring on their own
luggage?
A. Yes.
Q. And that he treated these trips more as

an extension of his personal hobbies rather than
actually doing research?

A. That was my opinion at the time was
that he was pursuing a hobby. However, my
understanding of scholarship has evolved over time
and I now believe that he and the university both
believed that this was a scholarly endeavor.

Q. Do you believe that it was a scholarly
endeavor, I think you referred to these trips as
echo tourism and not real research trips in this
memorandum, correct?

A. The field experience itself does not
align with the principals of field research, which
would involve a set of methods that you would use,
for example, to evaluate habitat or presence of
certain animals or something like that.

So in that sense it is not the same thing as
field research and that is why I would call it echo

tourism.

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it would be a legitimate form of scholarship, I
have questions about the quality of that work.

BY MS. NANAU:

Q. Thank you. I appreciate that
clarification.

A. Yeah.

Q. ‘Did you articulate that to Dr. McCarthy
and Dr. Gill when you met with them in 2017 and
2018?

A. Those two meetings have blended
together. I have articulated my concerns about the
quality or experience in one or both of those
meetings. I don't know for sure it was both. I
was using the same notes and it blended together.

Q. Did you take any handwritten notes or
did you type any written notes up after either
meeting with Dr. Gill or Dr. McCarthy?

A. Not to my knowledge.

Q. What was the follow-up of these

meetings with Dr. Gill and Dr. McCarthy?

A. I don't know.
Q. So you didn't meet with them again?
A. No.

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Q. How did Dr. McCarthy react to your
presentation in the April 2018 meeting?

A. I didn't give a presentation, it was
just a discussion.

°. Okay. How did she react to the
information that you were providing to her about
these trips that Dr. Noonan was taking with the
students?

A. I don't remember any specific response
from her except perhaps general concern about the
points we were bringing up.

Q. What does general concern mean?

A. I feel like I have a vague memory that
to mean she said, oh, that's concerning basically.
I don't have any specific memory of the back and
forth with her.

Q. Okay. And with Dr. Gill, what was her
reaction to the concerns that you and Dr. Russell
raised about the use of resources and the quality
of the educational experience on these trips with
Dr. Noonan and the students?

A. I believe it was much the same.

Q. So now I'm turning to the third

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primates?

A. Yes, I did Enoe that.

Q. With regard to this exhibit,
Plaintiff's 30, the last bullet point is no
follow-up that she was aware of. Do you know what
that is regarding?

A. So I believe I probably told Linda that
there was no follow~up that I, the she is me in
this case, was aware of from Beth Gill.

Q. Okay. Did you also tell
Ms. Walleshauser that you had a meeting in 2018
with Dr. McCarthy regarding similar issues that you
raised with Dr. Gill?

A. I don't remember whether I told her
that or not.

MS. NANAU: Okay. So I'm going to show you
what's marked as Plaintiff's 31.

The following was marked for Identification:
PLAINTIFF EXH. 31 Bates stamped Canisius 424
to 442

BY MS. NANAU:

Q. Plaintiff's 31 is document with the

Bates stamp range Canisius 424 to 442. I'm going

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to direct your attention to page Canisius 431.

So at the bottom of 431 there is a heading
that says Dr. Malini Suchak statement 2/26/2019 and
I believe your first name is misspelled?

A. Correct.

Q. I would like you to read the statement,
it goes to the next page, and then I'm going to ask
you a couple questions.

A. As a former student of Dr. Noonan's --

MR. D'ANTONIO: She wants you to read it to
yourself.

MS. NANAU: I mean, you can read it out loud
if you want.

MR. D'ANTONIO: Otherwise she has to take it
down.

THE WITNESS: Yeah, I thought that was
weird. I'm reading from here.

BY MS. NANAU:

Q. Dr. Mil ani Suchak's statement, yes.

A. Okay. I'm done.

Q. Okay. So my question is, did you
prepare the body of this statement and provide it

to someone at Canisius, or is this something else?

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A. I did not prepare this.

Q. Okay. So this is not your statement as
you prepared it, correct?

A. Correct.

Q. The date 2/26/2019, does that refresh
your recollection as to when you May have met with
Ms. Walleshauser or someone else regarding
Dr. Noonan?

A. Yes, I met with Linda Walleshauser that
day.

Q. Does the information under the heading
Dr. Malini Suchak's statement 2/26/2019, does it
fairly summarize the information that you provided
to you Dr. -- I mean to Ms. Walleshauser on
February 26th, 2019?

A. I believe this is a good summary of
what I reported.

Q. Okay. One of the things that is
reported in this statement that you and I haven't
discussed is Dr. Noonan hugging you and encouraging
group hugs all the time?

A. Yes.

Q. Can you tell me about that, when did

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that start that Dr. Noonan would try to hug you or
encourage group hugs?

A. So he would try to hug me, that started
when I became a full-time faculty member in 2013.
Encouraging group hugs, I don't know when that
Started, but that was something that he would do
kind of in celebration or, you know, after an event
or something and that was going on when I started
in 2013.

Q. Okay. It looks like in 2015 there was
a staff student event and Dr. Noonan came up behind
you, shoved you from behind and tried to make you
participate in a group hug; is that correct?

A. Yes.

And you got very upset?

A. Yes.

Q. And then in response my understanding
from this is that Dr. Paul Waldau told Dr. Noonan
that the hugging was inappropriate and needed to
stop, correct?

A. ioe

Q. Did the hugging stop after Dr. Waldau

approached Dr. Noonan about the hugging and how it

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had to stop after the 2015 event?

A. Yes.

Q. Did Dr. Noonan ever object to your
objections to his hugging?

A. He didn't -- no, he didn't object to
a ~

Q. Okay. So he didn't say anything like
everyone likes a hug or students like hugs or I
like to hug, so nothing like that?

A. No.

Q. Okay. It's also reported here that in
future interactions or meetings with you,

Dr. Noonan would tease you and gesture to you that
he was going to hug you which made you very
uncomfortable?

A. Yes.

Q. How long did the gesturing of hugging
go on for?

A. I would say it wasn't long after that
that it stopped completely. Like maybe -- I mean,
this was in like April or May of 2015 so then we
went on summer. And my recollection is by like

2016 it had fully stopped.

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Q. Okay. Did you ever report to anyone in
Canisius's administration either during your
meeting with Dr. Gill in 2017, your meeting with
Dr. McCarthy in 2018, or at any other time that
Dr. Noonan subjected you to these hugs that you

objected to?

A. No.
Q. Is there any reason why not?
A. When I started in 2013 and it started

happening, I reviewed the policies and at the time
I really could only find a sexual harassment
policy, not a general harassment policy.

And it was very clear to me that it was not
sexual in nature and did not fall under that policy
so I didn't feel that he was violating any policy
that I could find.

Q. Why was it clear to you that it was not

a violation of the sexual harassment policy?

A. Because it was never when we were
alone, it was only in front of other people. It
was a power move. I pushed back against him and it

was a way that he was able to assert power over me.

And so I felt that based -- like I read the

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